          EXHIBIT A8




Case 3:23-md-03071   Document 776-15   Filed 02/09/24   Page 1 of 6 PageID #: 14280
           Case 1:21-md-03010-PKC Document 394 Filed 11/21/22 Page 1 of 5



     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
     -----------------------------------------------------------x

     IN RE: GOOGLE DIGITAL ADVERTISING                                      21-md-3010 (PKC)
     ANTITRUST LITIGATION
                                                                        PRE-TRIAL ORDER NO. 5
                                                                         SCHEDULING ORDER

     -----------------------------------------------------------x
     CASTEL, Senior District Judge:

                      Civil Case Management Plans (the “Plans”) have been submitted by or with

     the input of the parties in accordance with Rule 26(f)(3), Fed. R. Civ. P., and Pretrial Order

     No. 2 (Doc. 309). Having considered those Plans and any accompanying submissions, the

     Court enters the following Scheduling Order:

      1.      Amended pleadings may not be filed and additional parties may not be joined

              except pursuant to the procedures set forth in Pre-Trial Order Nos. 2, 3 and 4. Any

              motion to amend or join additional parties (except as to the state law claims, as to

              which amendments are stayed pending further Order) shall be filed within 30 days

              of this Order.

      2.      The parties shall negotiate an appropriate protocol regarding Electronically Stored

              Information and present either an agreed-upon proposed stipulation, or their

              respective positions as to those portions of the stipulation on which they do not

              agree, by January 13, 2023.

      3.      The parties reserve all rights to object to discovery, including on relevance grounds.

              In view of the Opinion and Order of September 13, 2022, discovery relating to the

              Network Bidding Agreement is stayed pending further Order.

      4.      Initial disclosures, pursuant to Rule 26(a)(1), if they have not been previously

              served, shall be served by January 13, 2023. The parties shall comply with their


Case 3:23-md-03071         Document 776-15             Filed 02/09/24   Page 2 of 6 PageID #: 14281
           Case 1:21-md-03010-PKC Document 394 Filed 11/21/22 Page 2 of 5



              obligations under Rule 26(e) to supplement or correct initial disclosures in a timely

              manner.

      5.      All fact discovery shall be completed by June 28, 2024. The Court has considered

              the substantial document production that has already been made in these actions and

              the complexities and other exceptional circumstances presented by these actions.

      6.      The parties are to conduct discovery in accordance with the Federal Rules of Civil

              Procedure and the Local Rules of the Southern District of New York. The interim

              deadlines may be extended by the written consent of the parties without application

              to the Court, provided that all fact discovery is completed by the date set forth in

              paragraph 5 above:

              6.1.   Initial requests for production of documents and data shall be served by

                     January 27, 2023. The parties shall substantially complete production of

                     documents, including data responsive to the initial requests, within four

                     months of service.

              6.2.   No Interrogatories shall be served except in compliance with Local Rule

                     33.3(a) without first obtaining leave of Court, except as follows: defendants

                     may serve one set of interrogatories not to exceed 25 questions on each

                     named plaintiff, including named class representatives, in each Member

                     Case by January 27, 2023.

              6.3.   Requests to Admit for the purpose of authenticating documents may be

                     served no later than 45 days prior to the close of fact discovery identified in

                     paragraph 5 above.

              6.4.   Depositions of fact witnesses shall be completed by the close of fact

                     discovery identified in paragraph 5 above.



Case 3:23-md-03071        Document 776-15         Filed
                                                     2 02/09/24       Page 3 of 6 PageID #: 14282
           Case 1:21-md-03010-PKC Document 394 Filed 11/21/22 Page 3 of 5



              6.5.   Plaintiffs and defendants shall be permitted to take up to 15 fact-witness

                     depositions per side. A party may seek leave of Court to depose additional

                     witnesses by identifying the particular witnesses by name (or Rule 30(b)(6)

                     categories), describing the matters on which they have unique knowledge;

                     and identifying the actions to which the particular witness pertains. With

                     the consent of the examined witness or leave of a Court, the 7-hour limited

                     may be modified.

              6.6.   The parties are encouraged to stipulate to the manner of conducting a

                     particular deposition (e.g. videotaped, telephonically, remote video, written

                     questions).

              6.7.   Duplicative questioning of witnesses is not permitted and, absent a finding

                     of good cause by the Court, no fact witness may be examined more than

                     once.

      7.      All expert discovery shall be completed by December 27, 2024. Plaintiffs shall

              serve opening reports of all experts within 45 days after the close of fact discovery.

              Defendant(s) shall serve responsive expert reports within 45 days after the service

              of plaintiffs’ expert reports. Plaintiffs may then serve any rebuttal expert reports

              within 45 days after the service of defendant(s)’ reports. Depositions of experts

              shall be completed within 45 days following the service by plaintiffs of rebuttal

              expert reports. The parties are invited to negotiate an appropriate stipulation

              regarding expert testimony and present either the agreed-upon proposed

              stipulations, or their respective positions as to those portions of the stipulations on

              which they do not agree, by January 12, 2024.




Case 3:23-md-03071        Document 776-15          Filed
                                                      3 02/09/24       Page 4 of 6 PageID #: 14283
           Case 1:21-md-03010-PKC Document 394 Filed 11/21/22 Page 4 of 5




      8.      Absent further Order from the Court, motions for class certification are deferred

              until after the close of fact and expert discovery. Plaintiffs in the proposed class

              actions will move for certification within 30 days after the close of expert

              discovery. Defendant(s) will respond to the certification motions within 30 days

              after their filing, and each of the class plaintiffs may file a reply within 20 days

              after the filing of defendant(s)’ responses.

      9.      All motions and applications shall be governed by the Court’s Individual Practices,

              including pre-motion letter requirements. Pursuant to the authority of Rule

              16(c)(2), any motion for summary judgment will be deemed untimely unless a pre-

              motion letter relating thereto is filed no later than 14 days after the date set by the

              Court for the close of expert discovery. No party shall file any summary judgment

              motions prior to the close of expert discovery.

     10.      The time for filing Final Pre-Trial Submissions is stayed pending further Order of

              this Court.

     11.       No party waives any existing rights to remand to its transferor court under 28

              U.S.C. § 1407(a) or any other right related to the change of venue. See Lexecon Inc.

              v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998); Manual for

              Complex Litigation § 22.93 at p. 463 (4th ed.).

     12.      This Order may not be modified or the dates herein extended, except by further

              Order of this Court for good cause shown. Any application to modify or extend the

              dates herein shall be made in a written application in accordance with the Court’s

              Individual Practices and shall be made no less than fourteen (14) days prior to the

              expiration of the date sought to be extended.



Case 3:23-md-03071          Document 776-15        Filed
                                                      4 02/09/24       Page 5 of 6 PageID #: 14284
        Case 1:21-md-03010-PKC Document 394 Filed 11/21/22 Page 5 of 5



     13.   The next Case Management Conference will be held on February 15, 2023 at 2 p.m.

           in Courtroom 11D. No matter may be raised at the Conference unless a letter

           detailing the party’s position is filed with the Court 14 day in advance of the

           Conference. Any response shall be filed 7 days thereafter. This procedure shall

           apply to all future Conferences.



           SO ORDERED.




     Dated: New York, New York
            November 21, 2022




Case 3:23-md-03071     Document 776-15         Filed
                                                  5 02/09/24       Page 6 of 6 PageID #: 14285
